IN THE UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NORTH CAROLINA
CHARLOTTE DIVISION
CIVIL ACTION No. 3:17-cv-498

CHARLOTTE-MECKLENBURG
BOARD OF EDUCATION,

Plaintiff,
Vv.

DISABILITY RIGHTS
NORTH CAROLINA,

)
)
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}
Defendants. }

AMENDED COMPLAINT FOR DECLARATORY JUDGMENT

Plaintiff Charlotte-Mecklenburg Board of Education (hereinafter referred to as
“CMBOE”), through counsel, hereby files this Amended Complaint for Declaratory Judgment
pursuant to Federal Rules of Civil Procedure Rule 15(a)(B).

OVERVIEW

CMBOE files this Complaint against Disability Rights of North Carolina (hereinafter
referred to as “Defendant”), and requests this Court to determine the limits of Defendant’s
authority in accessing students’ Personally Identifiable Information (hereinafter referred to as
“PII’), which is confidential except in very limited circumstances. CMBOE brings this matter
before the Court to directly challenge Defendant’s assertion that it has unfettered authority to
access the confidential records of every student in a particular school based on the claim that
probable cause—created unilaterally from observations of Defendant’s employees—exists.

CMBOE is bound by federal, state, and local laws to protect and hold confidential the PII of its

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students unless a statutorily defined exception exists. In support of this Complaint, CMBOE
alleges the following:
PARTIES

1. Plaintiff is a corporate entity whose board members are duly elected citizens of
Mecklenburg County which is charged by state law with the control and operation of the
Mecklenburg County public schools. Plaintiff is also known as Charlotte-Mecklenburg Schools
or CMS.

2. Upon information and belief, Defendant is a private organization, receiving
federal funding, with its primary offices located at 3724 National Drive, Suite 100, Raleigh, NC
27612. This organization was designated as the state’s Protection and Advocacy Agency by
Governor Mike Easley as of 2007. Defendant may be served by serving registered agent, Vicki
Smith at the aforementioned address.

3, This is a declaratory judgment action pursuant to 28 U.S.C. § 2201 for the
purposes of resolving an actual controversy between the parties, as more fully appears below.

JURISDICTION

4. This action is brought pursuant to the federal Declaratory Judgment Act, 28
U.S.C. § 220, and jurisdiction in this action is based upon 28 U.S.C. § 1331, and is proper
because Plaintiff is seeking an interpretation of 20 U.S.C. § 1232g, 42 U.S.C. § 15043(a)(2)(B),
29 U.S.C. § 794e, 45 C.F.R. § 1326.25, and 45 C_F.R. § 1326.19, The parties are subject to
federal statutes and regulations which address the unauthorized disclosure of PII of students.
While there is no specific amount in controversy between the parties at the filing of the

Complaint, CMBOE is subject to federal regulations which provide for the forfeiture of certain

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federal funds, and other sanctions, when PII of students is disclosed without authorization. See
20 U.S.C. §12329(f); 34 C.F.R. §99.66-67,

BACKGROUND

5. On or about June 7, 2017, CMBOE received a letter from Defendant, through
attorney, Kristine Sullivan (hereinafter referred to as “Sullivan’’), seeking confidential student
information from Metro School (hereinafter referred to as “Metro”) pursuant to 29 U.S.C. § 794e
(f)(2), 42 U.S.C. § 15043(a)(2)\(B), 45 C.F.R. § 1326.25, and 45 C.F.R.§ 1326.19. Metro isa
school that serves students who are all cognitively disabled. A true and correct copy of the
referenced letter is attached and hereto incorporated by reference as Exhibit 1.

6, The confidential student information sought by Defendant was the Individualized
Education Plans (IEP) for all students at Metro, approximately 250 students, the permission or
parental waiver forms given to the school that allowed use of “wheelchairs or other devices in
order to support or mitigate harm to the child... “, or in the alternative, the names and contact
information for the parents or guardians of all Metro students.

7. Defendant’s letter asked that all identifying information be redacted and that the
IEPs only contain information that described the use of assistive technology, restraint, and/or
seclusion.

8. Defendant’s letter stated “Disability Rights NC has received a complaint
regarding improper use of restraint” and based on said complaint, Defendant was “conducting an
investigation into student care and treatment.” There were no other specifics regarding the
complaint.

9, Defendant set a deadline of fifteen (15) days to comply with the demand.

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1G, On or about June 13, 2017, J. Melissa Woods, Counsel for CMBOE, (hereinafter
referred to as “Woods”) spoke with Sullivan and requested an agreement to extend the deadline
to July 14, 2017. Sullivan agreed to this change.

11. On June 16, 2017, Woods and Sullivan engaged in a telephone conversation
regarding the information sought by Defendant. The purpose of the conversation was to obtain
clarity regarding Defendant’s purported authority to access records, and to receive additional
information about the alleged complaint.

12. During the June 16, 2017 conversation, Woods asked Sullivan for details about
the complaint. Sullivan stated there was not a complaint from a person, but that Defendant used
the term “complaint” broadly.

13. Sullivan further explained that probable cause was based on monitoring done
while Sullivan visited Metro, and her observations to the following:

a. A female student being offered a wheelchair by a staff member and the
mother of the student replying that the student did not need it. Sullivan
then observed this student “walk on her own.” When an inquiry was made
as to why an ambulatory student would be offered a wheelchair, the
assistant principal of Metro allegedly replied: wheelchairs were used for
ambulatory students for various reasons, including staff convenience;

b. A male student in a Rifton chair! during class time. When an inquiry was
made, the assistant principal allegedly replied: the chair was used to

mobilize the student during class time; and

' An activity chair that is intended to provide comfortable seating with adjustable support for children and
adolescents with disabilities in the classroom or at home. http://www.rehabmart.com/product/rifton-activity-chair-
r840-standard-base-medium-3 1780.html

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C. “the extensive number of wheelchairs, Rifton chairs, and other devices

present in Metro’s classrooms that constitute a restraint.”

14. Per Sullivan, the information provided by the assistant principal did not represent
an appropriate use of said devices, and based on the observations and comments, Defendant
“thinks they have gotten to the level of probable cause.”

15, Woods inquired whether Defendant would be willing to narrow their request for
documents to the observed students—if said students could be identified—or students whose
parents had authorized use of assistive devices in the way Sullivan had observed; Sullivan agreed
to consider the narrowing the records request.

16. | Woods also informed Sullivan that CMBOE would be willing to correct any
deficiencies, if they could be identified, and cooperate with any investigation.

17. Although the assistant principal who spoke to Defendant’s employees during the
above referenced visit admits to stating that assistive devices are sometimes used for
convenience, she denies stating that “convenience” was for staff purposes.

18. = The Individualized Education Plans (IEPs) for some students at Metro allow for
the use of assistive technology devices, such as wheelchairs, for ambulatory students, at the
student’s convenience, when there is a risk of safety to the student.

19. On June 23, 2017, Sullivan sent an email to Woods refusing to narrow the request
because there “was probable cause regarding all the students at Metro.” (emphasis added). A true
and correct copy of the referenced email is attached and hereto incorporated by reference as

Exhibit 2.

? This information was conveyed not in the phone conversation, but in the email that was dated June 16, 2017. See
Exhibit 7.

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20. On July 13, 2017, CMBOE mailed Defendant the redacted [EPs of all students
who were enrolled at Metro.

21. ~— Also, on July 13 2017, CMBOE, through Woods, sent a letter, explaining why
CMBOE had provided the requested documents and advising Defendant that CMBOE did not
agree with Defendant’s determination of probable cause. CMBOE also reiterated that Defendant
was not entitled to PII regarding every student at Metro and promised strict scrutiny of future
requests. A true and correct copy of the referenced letter is attached and hereto incorporated by
reference as Exhibit 3.

22. On August 3, 2017, Defendant sent a letter in response to CMBOE’s July 13,

2017 letter. A true and correct copy of the referenced letter is attached and hereto incorporated
by reference as Exhibit 4.

23. In the letter, Defendant contends it has probable cause to believe that abuse
and/or neglect occurred at Metro and demanded the names and contact information for the
parents or guardians of all students be provided to Defendant within three (3) business days.

24. In the letter, Sullivan claimed Woods had inaccurately recounted the telephone
conversation on June 16, and denied the alleged probable cause was solely based on observations
of Defendant’s employees and statements by the assistant principal.

25. Although there was no new details provided, Defendant claimed there existed a
report which constitutes a complaint.

26. On August 9, 2017, CMBOE sent a response to the letter dated August 3, 2017,
requesting details of the complaint or report upon which Defendant based probable cause and
refusing the demand for parent or guardian information because a release of this information

would violate the Family Educational Rights and Privacy Act (FERPA) and CMBOE Policies. A

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true and accurate copy of the letter is attached hereto and incorporated by reference as Exhibit
5.

27. Defendant responded on August 14, 2017, stating that Protection and Advocacy
Agencies, such as the Defendant, have the final authority regarding the determination of
probable cause, and are not required to disclose the basis for probable cause. A true and accurate
copy of the letter is attached hereto and incorporated by reference as Exhibit 6.

28. This letter, however, again stated that the probable cause for Defendant’s request
for the information at Metro was based on observations and “received information.”

Count 1; Declaratory Judgment regarding FERPA

29, CMBOE restates and incorporates by reference each of the preceding paragraphs.

30. The information Defendant seeks is PII as defined by FERPA and protected by
the mandates of that statute.*

31. FERPA provides the circumstances by which PII can be released without parental
consent.* Release of this information to Defendant, acting as a Protection and Advocacy agency,
is not an exception set forth in FERPA.

32. Defendant essentially asserts that the Protection and Advocacy statutes overrule
FERPA, but have no controlling authority to support this assertion.

33. The Fourth Circuit has not addressed the authority of Protection and Advocacy
agencies to obtain PII from a public school.

34, By providing the information sought by the Defendant, CMBOE would breach the
rights of the students under its protection and violate federal law which can lead to the loss of

federal funds required for the delivery of essential educational services.

320 U.S.C. § 1232g(a) et. seq.
4 fd. at (b)(1) et. seq.

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35. Due to the parties’ disagreement regarding the interpretation of the confidentiality
provision of FERPA and whether, or under what circumstances, CMBOE should release the
information demanded by the Defendant, CMBOE requests the Court’s interpretation of the
Developmental Disabilities Act (DDA) and Protection and Advocacy of Individual Rights
(PAIR), as those statutes relate to FERPA, and whether CMBOE is required to release the
information demanded by Defendant.

Count 2: Declaratory Judgment Regarding Probable Cause

36. | CMBOE restates and incorporates by reference each of the preceding paragraphs.

37. Defendant interprets the federal statutes regarding access to records very broadly
and relies heavily on authority from outside the Fourth Circuit to support its perceived powers.°

38. However, Defendant’s authority to access records of disabled individuals is
limited to three circumstances: 1} when the individual is a client; 2) when the individual is
without a parent or guardian to authorize access or the individual is unable to authorize access; or
3) when there has been a complaint or probable cause exists to believe an individual has been
subject to abuse or neglect. °

39, In an email dated June 16, 2017, Defendant admitted that the first of the three
enumerated circumstance is not applicable to this matter.’ A true and correct copy of the
referenced email is attached and hereto incorporated by reference as Exhibit 7.

40. The second circumstance is not satisfied because, upon information and belief, all

students at Metro have parents or guardians. CMBOE, therefore, rejects Defendant’s contention

that the second condition is relevant to this matter.

3 See Exhibit 1.
6 42, U.S.C. § 15043 (a(2\(I); 45 C.F.R. 1326.25(a) (1-3).
7 See Exhibit 7.

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41, Therefore, the only relevant condition under which Defendant could validly claim
access to records at Metro is the condition which requires Defendant to receive a complaint
alleging abuse or neglect or when probable cause for abuse or neglect exists.

42. Probable cause is defined as a “reasonable ground for belief that an individual
with developmental disabilities has, or may be, subject to abuse [or] neglect.”*

43, Although the Defendant continues to assert a complaint has been received,
CMBOE has not been provided with any details of said complaint or report that constitute
probable cause of abuse or neglect outside of what is listed in Paragraph 13 and Exhibit 6.

44, Even assuming the assistive technology devices were being used in the manner
Defendant alleges, such use does not constitute abuse or neglect.

45, Furthermore, if a student’s IEP provides for use of an assistive technology device
in a way that prevents harm to the student or aids in the student’s convenience, such use would
not constitute an inappropriate use of said device, and therefore would not, per Defendant’s
definition interpretation, rise to the level of abuse or neglect.

46. CMBOE offered Defendant an opportunity to view IEPs which contained
instructions specifically related to the use of assistive devices of ambulatory students, but
Defendant refused to narrow its request and instead requested all redacted IEPs.”

47, The redacted IEPs prevented Defendant from linking particular students—who
were authorized by the IEP team to use assistive technology devices for their convenience or

safety —to specific IEPs.

845 CER 1326.19.
? See Exhibit 2.

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48. A complaint related to a limited number of students does not constitute probable
cause for every student in a schoo!,!”

49, While it “may be made based on reasonable inferences”!!, probable cause must be
concrete and articulable.!”

50. While CMBOE does not agree that the provided information meets the definition
of probable cause, as it relates to the observed students, CMBOE forcefully objects to such
information being used to support Defendant’s contention that it has reasonable grounds to
believe that all students at Metro have been or may be subject to abuse/neglect.

51. While some jurisdictions have allowed Protection and Advocacy agencies access
to the records of all students, these instances have been limited to circumstances where there has
been serious injury or death or allegations of pervasive systematic abuses. '*

52. Such reasoning is lacking in this case and, therefore, probable cause for obtaining
the records of every student at Metro school does not exist.

53. Defendant claims, without controlling authority, it has the sole discretion to
determine what information constitutes probable cause, that 1t does not have to disclose that
information to anyone, and that there are no checks and balances on its determination.

54. Due to the parties’ failure to agree upon what constitutes reasonable probable

cause and whether probable, as it relates to a finite number of students, permits Defendant to

See Wash. Prot. & Advocacy Sys. v. Evergreen Sch. Dist., Case No. C03-5062 FDB (W.D. Wash. 2003),
(unpublished) aff'd, 71 Fed. Appx. 654, 2003 WL 21751827 (9th Cir. Wash), finding no abuse of discretion, See
Exhibit 8

145 C.F.R. 1326.19.

2 See Pennsylvania Prot. & Advocacy, Inc. v. Royer-Greaves Sch. for Blind, 1999 U.S, Dist. LEXIS 4609, at #26
(E.D. Pa. March 24, 1999). See Exhibit 9

3 See Exhibit 2.

4 See lowa Prot. & Adv. Servs., Inc. v. Gerard Treatment Programs, LLC, 152 F. Supp. 2d 1150 (N. D. 2001);
Disability Ctr. of Alaska v. Anchorage Sch. Dist., 581 F.3d 936 (2009); Conn. Office of Prot. & Advocacy v.
Hartford Bd. Of Educ., 355 F. Supp. 2d. 649 (D. Conn. 2005).

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obtain PII for every student at a school, CMBOE requests the Court clarify what determines the
standard for probable cause when Protection and Advocacy agencies seek access to all students’
PII, and whether, based on the standard provided by Defendant, CMBOE is required to release
the requested information.

WHEREFORE, for all the reasons set forth above, CMBOE respectfully requests that the
Court issue a finding that FERPA prohibits the release of the names of all the parents or
guardians of the Metro students, that Defendant’s overly broad requests lacks grounds on which
to base a reasonable belief that “all students at Metro have or may be subject to abuse or
neglect,” and find that Defendant has not met its burden that there are reasonable grounds for
obtaining parent/guardian information for all students at Metro. CMBOE further requests that the

Court grant any other such relief as may be appropriate.

Respectfully submitted, this the 28" day of September, 2017.

s/ J. Melissa Woods

J. Melissa Woods

Senior Associate General Counsel
N.C. Bar Number: 21313

Email: jamiem.woods@ems.k12.nc.us

s/ Andre Mayes

Deputy General Counsel

N.C. Bar Number: 14102

Email: andre.mayes@cms.k12.ne.us

Attorneys for the Plaintiff
Charlotte-Mecklenburg Board of Education

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Charlotte, North Carolina 28202

Phone: 980-343-6228; Facsimile: 980-343-5739

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Exhibit 1,
Exhibit 2.
Exhibit 3.
Exhibit 4,
Exhibit 5.
Exhibit 6.
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Exhibit 8.

Exhibit 9.

INDEX FOR EXHIBITS IN COMPLAINT

Letter dated June 7, 2017.
Email dated June 23, 2017.
Letter dated July 13, 2017.
Letter dated August 3, 2017.
Letter dated August 9, 2017.
Letter dated August 14, 2017.
Email dated June 16, 2017.

Washington Prot. and Advocacy Sys. Inc. v. Evergreen Sch. Dist., Case No. C03-
5062 FDB (W.D. Wash. 2003), (unpublished) aff'd, 71 Fed. Appx. 654, 2003 WL
21751827 (9th Cir. Wash), finding no abuse of discretion.

Pennsylvania Prot. & Advocacy, Inc. v. Rayer-Greaves Sch. for Blind, 1999 U.S. Dist.
LEXIS 4609, at *26 (E.D. Pa. March 24, 1999),

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_ DISABILITY RIGHTS

NORTH.GAROLINA
Champions for Equality and Justiea

June 7, 2017
ME GE LY 2 A]
Principal Fermandi Dyson we [ oy
Metro School . Ba [id
405 South Davidson Street JUN - 2007 i
Charlotte, NC 28202 a
Re: Complaint of Abuse and Neglect pee nt Oo INSEL .|

Sent via email (fermandis.dyson@coms.k12.nc.us) and U, s. mail

-Deat Ms, Dyson,

Disability Rights NC is North Carolina’s Protection and Advocacy system (P&A). Each state’s P&A

is part of'a federally mandated system with the authority and obligation to protect and advocate for

the human and legal rights of individuals with developmental and/or other disabilities.’ More

specifically, P&As have the obligation and euthority to investigate incidents of abuse and neglect of
individuals with developmental and/or other disabilities that are reported to the P&A, or if there is
probable cause to believe that the incidents occurred.’ The term “abuse” includes actions that cause
psychological harm, physical i injury, or death. Where a réstraint is improperly utilized, it may be
cotisidered a form of abuse.’ “Neglect” includes acts or omissions that cause injury or death, Failure

to develop or carry out an appropriate individual education plan, or failure to provide health care,

tay be considered neglect,

Disability Rights NC is required to conduct abuse and neglect investigations 4 in all HI settings that serve 'e people
with developmental and/or other disabilities.” The school setting i is one in which an abuse and neglect
investigation may occur.” Thus, Disability Rights NC’s protection and advocacy system responsibility and
authority includes responding to complaints of abuse or neglect that occur within schools serving students
with developmental and/or other disabilities.’

' Sea 29 U.S.C. § 7946 (Protection and Advocacy of Individual Rights Progrom, (the PAIR Act)}; 42 U.S.C. §§ 10801 ef
seq, (Protection and Advocacy for Individuals with Mental Illness Act (the PAIMI Act); 42 U.S.C, §§ 15001 et seg,
(Developmental Disabililies Assistance Bill of Rights Act (the DD Act),

29 UL8.C, § 794e(f)(2}; 42 U.S.C, § 10805(aX L(A); 42 U.S.C. § 15043(a)(2)(B); 42; CFR, f 51.3; 45 CER, § 1326.25,
* 42 CBR. § 51.2; 45 GER, § 132619,
(A2U8C. § 10802(5); 45 CER. § 1326.19.

* 42 U.S.C, § 10805(a)(3); 42 U.S.C. § 15043(a)(2)(H).

§ see Com, Office of Prot. & Advocacy y, Hariford Bd. of Education, 355 F. Supp. 2d 649 (D. Conn. 2005), afd, 464
F.3d. 229 (2 Cir, 2006} (“To the extent that developmentally disabled students-attend HTLA, ... the school is
undoubtedly q ‘loaation in which services, supports, and other assistance are provided,’ 42 U, § C. § 156043(a)(2)H} -

{I).”)
North Carolina's Protection Sie ee Drive 919-856-2195
and Advocanv Sustam Raleigh, NC 97619 EXHIBIT a
} www. disabilityrightsncorg

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Disability Rights NC has received a complaint regarding improper use of restraint, including but not
limited to wheelchairs and other assletive technology devices, at Metro School. Therefore, we are
conducting an investigation into student care and treatment,

Disability Rights NC has broad authority to access records related to alleged abuse and/or neglect of
persons with disabilities when:

_ 1. The P&A has received a complaint or has probable cause to believe that abuse and/or neglect has
occurred; ©
2. The individual has a legal guardian or other representative; and
3, The P&A has made a good falth effort to contact the representative upon receipt of the representative's
name and address." ,

The provision regarding contact with a legal representative “upon receipt of the name and address of
such representative” has been interpreted to permit the P&A to obtain the names and addresses of the
legal guardian of the individual about whom a complaint was received or for whom there is the
requisite degree of probable cause to dernand records.”

Pursuant to Disability Rights NC’s féderal statutory authority, we request copies of the following
documents: Lo -

¢ Individual Education Plans (IEPs) for all students enrolled at Metro School within fifteen business
Gays of the date of this letter, Specifically, Disability Rights NC requests that Metro School redact
all identifying information and include only the portions of each LBP that describe the use of assistive
technology, seclusion, and/ or restraint.
AND

* Copies of all forms, waivers, and other written or recorded parental pefmission given to the school to
use wheelchairs or other devices in order to support or mitigate harm for a child with a physical or
medical condition within fliteen business days of the date of this letter, Disability Rights NC
requests that all identifying information be redacted. -

In the alternative, pursuant to Disability Rights NC's federal statutory authority, we request the’
following: ‘

" See Conn, Office of Prot. & Advocacy, 355 F, Supp. 24 at 659-60 (interpreting the PAIMI Act, DD Act and PAIR Act,
along wilh the accornpanying regulations, to extend P&A access authority toa non-res{dential public school setting), See
also Michigan P&A Service, Inc., v, Miller, 849 F. Supp. 1202 (W.D. Mich. 1994) (finding that “fagilities” oovered by the
PAIMI regulations include schouls because special education provides care and/or treatment for people with meutal
illness, even if the services are considered only incidental to the primary function of the school); and see S, Rep, No. 106-
£96, at 261999) (P&A authority is just as broad with respect to community settings so as to ensure people with
disabilities are recelying the requisite care and services). oe
* 42 U.S.C, § 15043(a}(2)(D (ii),

See Conn, Office of Prot, & Advocacy for Persons with Disabilities v. Hariford Bd, of Educ. 385 ¥. Supp. 2d 649 (D,
Conn. 2005), aff'd, 464 F.3d 299 (2™ Cir, 2006); Disability Rights Wis., inc. v, State Dep't of Pub. Insiruction, 463 F.3d
719 (7" Cir. Wis, 2006).

EXHIBIT

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¢ The name and contact information of the legal guardian for each student enrolled at Metro School

- within three business days of the date of this letter so that Disability Rights NC may contact each to-_
obtain an Authorization to Release Confidential Information in order to gain release of the non-
redacted and complete records desaribed above,

Thank you in advance for’ your cooperation in this matter, Please address the records, or the name and
contact information of legal guardians, to my attention at the address'listed above. If there is a fee for
. the actual cost of duplicating the requested records, please fnform me. of that cost prior to making the
. copies. You can also send the records electronically to kristine.sullivan@disabilityrightsnc.org,
Should you have any-questions or concerns, please do not hesitate to‘contact me at (919) 836-2195.

Kristine L, Sulliv
Attomey

co: Courtney C, Rogers, CMS Attorney, via email (Courtneye.rogers@ems.k12.nc.u8)

EXHIBIT

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Woods, Jamie M.

From:
Sent:
To:
Subject:

Hi Melissa,

Kristine Sullivan <kristine.sullivan@disabilityrigntsnc.org>
Friday, June 23, 2017 3:59 PM

Woods, Jamie M.

Narrowing of our records request

] hope this email finds you well. After giving it a lot of consideration and speaking with some of my colleagues,
1 am not able to narrow down the records request any further for CMS. Listing out ail of the information that we
are looking for and any possible situation we would want to see records for would take an enormous amount of

time, and would still require CMS to produce all of the IEPs ar Metro. Further, because we have determined that
there is probable cause regarding all the students at Metro, we do need to see all of the JEPs.

We appreciate CMS's desire to work collaboratively and try to narrow down the request a little, but after
mulling things over for the past few days, there is just no way that will be workable.

Thank you,
Kristine

Kristine L. Sullivan

Attorney

Disability Rights NC

(919) 856-2195

Sent from my phone; please excuse typos.

EXHIBIT

tabbles:

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Sr

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Chaslotte-Mecktenburg Schaols Offlce of Ganaral Counsel

Every CAMA. Every bay. for a Butter Temavvort, P.O, Box 30035
Charlotte, North Carolina 28230-0035

July 13, 2017

Kristine L. Sullivan, Esq,
Disability Rights North Carolina
3724 National Drive, Suite 100
Raleigh, NC 27612

Re: Metro School
Dear Ms, Sullivan,

lam writing to inform you of the district’s decision regarding Disability Rights of North
Carolina’s (DRNC) records request at Metro School. However, I would also like to summarize
what led to this decision, and advise you how CMS will respond to similar demands from DRNC
in the future.

When DRNC first sent a letier requesting documents, it clearly stated there had been a
complaint! of abuse and neglect. Upon speaking with you, however, we learned there was no
complaint. During that conversation, you also stated there was probable cause to obtain
information on all students based on three reasons: 1) an ambulatory student being offered, and
refusing, a wheelchair followed by a school administrator’s explanation, to your inquiry, that
offering such assistive devices were sometimes done for convenience; 2) a student being seated
in a Rifton chair during class, followed by the same school administrator’s response, again to
your inquiry, that the chair was used to stabilize the student’s movements during class time; and
3) the extensive number of assistive devices that you observed in the classrooms. I will address
each in order.

As to the student offered the wheelchair, there are multiple reasons ambulatory students at Metro
may require assistive technology devices (ATDs). If the student’s JEP provides, or parents
request il, an ATD can be made available, Without further information about this specific
student—it appears no effort was made to identify the student during your visit—there is no way
to provide documentation of such permission. As to the student in the Rifton chair, some Metro
students require additional stabilizing support. This authorization would also be in the student’s
IEP. Those documents may have been accessible to DRNC if any aitempt had been made to
identify that student. Finally, regarding the number of ATDs in the classrooms, all of the
approximately 250 students who attend Metro have a cognitive disability, As explained on the

'a5 CAR. § 1326, 19
45 CP, Bde v/ 80-343-6228 Rwww.ems.ki2.nce.us
tn compliance with federal law, Chartotte- E iBIT cailon programs, employment activities and
admissions without discrimination agalnst a olor, religion, netional origin, age or disabitity.
Amerlcers with Glsevilities Act (ADA) Accessiblity: Mf auxil ry for participation in o CMS program or service, participants
are encouraged to nailly ihe ADA coordinator at feast ong g (at 980-343-G661 (volee) or accessibiiity@ams.k12.ne.us.

Case 3:17-cv-00498-RJC-DSC Document 10 Filed 09/28/17 Page 17 of 48
school’s website, “[mJany of [the students have severe medical and physical needs; many... are
in need of total physical care and assistance; and many have other multiple disabilities... 2”
Obviously, with this student population, there would be an extensive number of wheelchairs,
Rifton chairs, and other ATDs in the classrooms at Metro. It seems incredulous that an agency
which focuses on the rights of disabled individuals would be shocked to find numerous ATDs at
a school that solely serves a disabled population.

These three reasons do not constitute a complaint. Nor do they, alone or combined, give rise to
probable cause of abuse or neglect for all students at Metro School.

While we agree with your reading of the Protection and Advocacy (P&A} statutes allowing
access to the records of Individuals with disabilities when certain cireumstances have been met’,
you have interpreted the statutory authority too broadly by requesting the IEPS of al! the Metro
students, The law in this area is tar from settled. Although you reference lowa Prot. & Advocacy
Servs. v. Gerard Treatment Programs, £.1.C., that case is distinguishable from the facts here.
Specifically, there was articulable probable cause based on the death of a resident, and the court
determined there was potentially imminent danger to other residents.’ Additionally, other
jucisdictions have limited the authority of P&As when the alleged probable cause has no sound
basis®, or when P& As could not demonstrate that additional records were needed to complete an
investigation.®

The district carefully deliberated its options. In addition to advice from Counsel, the district also
considered the impact of the inflammatory, and wholly unfounded, language in your emails that
referenced the potential abuse or neglect of every student at Metro. To mitigate potential
disruption to the school environment, the district has decided to provide the redacted IEPs of the
students and the consent forms, if they exist’, The documents will be mailed from the
Exceptional Children Departinent today, The cost for copying those documents is $762.00 (10
cents a page for approximately 3,800 copies), We are also requesting reimbursement for the cost
of shipping which is $200.00. Make the check payable to CMS Board of Education and include a
notation for “EC Department.”

Please understand this response is not a recognition of DRNC’s overreaching authority, It is our
position that you lack articulable probable cause in this matter. Also, please understand that
future attempts to obtain such records without the requisite complaint or probable cause will be
highly scrutinized. CMS will not hesitate to seek a resolution of these matters in the courts.

* Metro School, Charlotte-Mecklenburg Schs.,
http://schools.cms.k12.nc.us/metroRC/Pages/AboutOurSchool aspx (last visited July 13, 2017).
+42 ULS.C.S. § 10543 (a)(2)(H).

“ fowa Prot. & Advocacy Servs. y. Gerard Treatment Programs, L.L.C., 152 F.Supp.2d 1150,
1169-70 (N.D. la. 2001).

> Georgia Advocacy Office, Inc. v. Camp, 172 F.3d 1294 (11" Cir, £999),

° Disability Rights N.Y. v. N. Colonie Bd. of Educ., 2016 U.S. Dist, LEXIS 36509 (N.D.N.Y.
Mar, 21, 2016).

” Parents are not required to consent to all the information in an JEP.

EXHIBIT

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Case 3:17-cv-00498-RJC-DSC Document 10 Filed 09/28/17 Page 18 of 48
Respectfully,

4 Woods
sociate General Counsel

Case 3:17-cv-00498-RJC-DSC Document 10 Filed 09/28/17 Page 19 of 48
DISABILITY RIGHTS

NORTH GAROLINA
August 3, 2017 Chanipions for Equality and Justice

J. Melissa Woods

Senior Associate General Counsel
Charlotte-Mecklenburg Schools
P.O. Box 30035

Charlotte, NC 28230-0035

Re: Metro School

Dear Ms. Woods,

Iam writing in response to your letter of July 13, 2017, addressing the request for records
Disability Rights NC originally made of Charlotte-Mecklenburg Schools and the Metro School
on June 9, 2017, This letter also serves as a separate request for information.

As noted in your letter, the June 9 request stated Disability Rights NC had received a complaint
regarding abuse and/or neglect of students at the Metro School. Your letter then stated that after
speaking to me by telephone, you learned there was no complaint. Thisis incorrect. As I
explained in the June 9 request, and by telephone and subsequently by email on June 16,

. Disability Rights NC received a complaint of alleged abuse and/or neglect, As the designated
Protection and Advocacy System (P&A) for North Carolina; Disability Rights NC is entitled to
access records of an individual when, among other situations, we have received a complaint that
abuse and/or neglect has occurred. A complaint “includes, but is not limited to, any report or
communication, whether formal or informal, written or oral, received by the P&A system,
including media accounts, newspaper articles, electronic communications, telephone calls
{including anonymous calls) from any source alleging abuse or neglect of an individual with a
developmental disability.”! The report provided to Disability Rights NC constitutes a complaint
as defined in the federal P&A statutes and regulations; therefore, Disability Rights NC js entitled
to request records in order to investigate that complaint,

Your letter accurately indicated that, during the June 16 telephone call and in the subsequent
email of the same date, Disability Rights NC stated that we had determined there was probable
cause to believe that abuse and/or neglect had occurred. However, your letter mischaracterized
the stated basis for that decision. At this time, Disability Rights NC chooses to forego a detailed
recitation of the inaccuracies in your letter and the bases for our probable cause determination.
Instead, we reiterate that we have probable cause to believe that students at Metro School have
been, or may have been, subjected to abuse and/or neglect. For purposes of the P&A, probable
cause means

a reasonable ground for the belief that an individual with
developmental disabilily(ies) has been, or may be, subject to abuse

j ‘he
North cad sale Bdtection 3724 National Drive 856.919
and Advocacy System Suite 100

oy

Raleigh, NC 27612
vww, disabilityrightsne.org

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or neglect, or that the health or safety of the individual is in serious
and immediate jeopardy, The individual making such determination
may base the decision on reasonable inferences drawn from his or
her experience or training regarding similar incidents, conditions, or
ptoblems that are usually associated with abuse or neglect.

Disability Rights NC determined that probable cause exists in this matter based upon the
information provided to us, our observations and experiences during monitoring and other visits
to Metro School, and the experiences and training of our staff.

The remainder of your letter provided a comprehensive explanation for Charlotte-Mecklenburg
Schools’ determination that Disability Rights NC lacks probable cause to request records in this
matter. The comments to the federal regulations make clear that the service provider (here,
Charlotte-Mecklenburg Schools) does not determine whether the P&A has probable cause to
believe abuse and/or neglect has or may have occurred. “Where there is controversy between the
P&A and service provider [regarding grounds to request records], the P&A makes the relevant
determination, in the interest of providing strong protection and advacacy for people with
developmental disabilities in keeping with the purpose of the DD Act. In situations regarding
abuse and neglect, the court remains ‘the final arbiter’ with respect to determining whether an
adequate basis for probable cause exists."

As Disability Rights NC has received a complaint regarding abuse and/or neglect at Metro
School, and has determined that probable cause exists to believe abuse and/or neglect has
occurred at Metro School, Disability Rights NC is investigating this matter. Disability Rights
NC has broad authority to access records related to alleged abuse and/or neglect of persons with
disabilities when:

1. The P&A has received a complaint or has probable cause to believe that abuse and/or
neglect has occurred;

2, The individual has a legal guardian or other representative; and

3. The P&A has made a good faith effort to contact ihe representative upon receipt of the
representative's name and address.*

The relevant regulations explicitly state that “[e]ducational agencies, including public... schools,
must provide a P&A with the name and contact information for the parent or guardian of a
student for whom the P&A has probable cause to obtain records under the DD Act.” This
codifies court decisions interpreting the provision regarding contact with a legal representative
“upon receipt of the name and address of such representative” to permit the P&A to obtain, from
the servive provider, the names and addresses of the legal guardian of the individual about whom

Id.
’ Developmental Disabilities Program, 80 Fed, Reg, 44,796, 44,800 Guly 27, 2015) (emphasis added).
* 42 U.S.C. § 15043(a)(2)(IXili).

4
45 CFR. § 1325(f). EXHIBIT

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a complaint was received or for whom there is the requisite degree of probable cause to demand
records,

As Disability Rights NC has both a complaint and probable cause in this matter, we have the
authority to obtain the name and address for the legal guardian or other representative of each
student al Metro School. Therefore, we are requesting you provide us with that information.
Please address the name and contact information of all students’ legal guardians to my attention
at the address listed above within three business days of the date of this letter.’ You can also
send the information electronically to kristine. sullivan@disabilityrightsne. org.

Should Charlotte-Mecklenburg Schools decline to provide the requested information, Disability
Rights NC is entitled to a written statement of the reason(s) for the denial within one business
day of the expiration of the above deadline.* If the request for information is denied, Disability
Rights NC will be forced to seek a court order resolving this matter.

Sincerely,

Kristine L. Sullivan

6 See Conn. Office af Prat, & Advocacy for Persons with Disabilities v. Hartford 8d. of Educ., 355 F. Supp, 2d 649
(D. Conn. 2005), aff'd, 464 F.3d 299 (2"4 Cir, 2006); Disability Rights Wis., Inc, v. State Dep't of Pub. Instruction,
463 F.3d 719 (7" Cir. Wis. 2006).

? See 42 U.S.C. § 15043(a)(2) TMi.

®45 C.E.R. § 1326.26. EXHIBIT

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Sv

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Charlotte-Mecklenburg Schools Office of General Counsel

Every CAI Every Day, fev a Better Tomorvor. P.O. Box 30035
% Charlotte, North Carolina 28230-0035

August 9, 2017

Kristine Sullivan

Disability Rights of North Carolina
3724 National Drive, Suite 100
Raleigh, NC 27612

Dear Kristine:

This is a response to your letter dated August 3, 2017. As I informed you, via email, on Monday, August 7,
our administrative offices were closed on Friday, August 4, so we officially received your letter on August 7,
2017, At this time, the district is denying the request by Disability Rights of North Carolina’s (DRNC) for the
name and contact information for the parents or guardians of all the students at Metro School.

Our Intent is not to be adversarial. As I stated in our July 16th conversation, the district wants to address and
rectify any concerns that potentially put students at risk, If there are valid safety concerns at Metro, CMS is
willing to resolve those issues, We recognize that DRNC serves an important role in protecting the rights of
children with disabilities. However, CMS also has an important duty to protect our students and their privacy.

Per the protection and advocacy statutes, probable cause is required, before any release of information can be
considered!, We still have no idea what the probable cause is in this case, Since you stated that | inaccurately
recounted our July 16th conversation, please inform us of the nature of the complaint that led to probable cause
that all students at Metro are in danger of abuse or neglect. The district will then assess this information and
can make an informed decision regarding your request.

At this time, however, it is the district’s position that DRNC is not entitled to parent or guardian contact
information due to the protections guaranteed to our students under FERPA?2, North Carolina privacy laws’,
and CMS board policies.’ As the disclosure that DRNC seeks does not meet any exemption under those
guidelines, we cannot release the information.

If you would like to discuss this further to determine if a mutual resolution can be reached, I am amenable to
such a discussion. Please feel free to contact me at any time via phone (980-343-0874) or email

(jamiem.woods@cins.k12.,nc.uUs).

Sincerely,

'45C.F.R. 1326.19

220 U.S.C. §1232g (b)(I).

N.C. Gen. Stat. §115C-174.13, §115C-402.
+CMS Board Policy JRA

Phone: 980-343-6228 om F@ w.ems.k1i2.ne.us m@ CMS-TV

lucation programs, employment activities and

color, religion, national origin, age or disabliity.

ery for participation in a CMS program or service, participants
t at 980-343-6661 (volce) or accesslbliity@cms.k12.nc.us.

In compliance with federal law, Charlotte-

admissions without discrimination against a

Americans with Disabilities Act (ADA) Accessibility: If auxill
are encouraged to notify the ADA coordinator al least o

Case 3:17-cv-00498-RJC-DSC Document 10 Filed 09/28/17 Page 23 of 48
DISABILITY RIGHTS

NORTH CAROLINA
August 14, 2017. Champions for Equality and Justice

J, Melissa Woods

Senior Associate General Counsel
Charlotte-Mecklenburg Schools
P.O. Box 30035

Charlotte, NC 28230-0035

Re: Metro School

Dear Ms. Woods,

Thank you for your letter date August 9, 2017. Disability Rights NC understands that at this
time, Charlotte-Mecklenburg Schools (CMS) has declined to release the names and contact
information for the parents or guardians of all students at Metro School. We understand the
reason for this decision is that CMS does not know the basis for Disability Rights NC’s
determination that probable cause exists in this case. I appreciate your offer to discuss this
matter further.

As I explained in my letter dated August 3, 2017, the Protection and Advocacy System (P&A) is
entitled to receive, from the service provider in question, the name and contact information for

. the guardian or legal representative of each individual for whom the P&A has probable cause to
believe that abuse and/or neglect has occurred. The P&A is the party that determines whether
probable cause exists. This determination is sufficient to invoke the P&A’s access authority;
there is no accompanying requirement that the P&A divul ge the basis for this determination.
Additionally, the P&A is required to maintain the confidentiality of all records and information
pertaining to “the identity of individual... who furnish information that forms the basis for a
determination that probable cause exists” and those individuals who “provided information to the
P&A for the record.” 45 CF.R. § 1326.28(b)(1)(iii-iv). Therefore, it is not Disability Rights
NC’s practice to provide service providers with the bases for its probable cause determinations.
This letter is not intended to alter or undermine that practice.

However, as CMS has indicated a willingness to reconsider its position, Disability Rights NC
will provide a limited summary of the information underlying our probable cause determination,
During visits to Metro School, Disability Rights NC staff members observed students being
transported throughout the school in wheelchairs, We learned that many of these students are
capable of ambulating and do not require the use of a wheelchair, Instead, the wheelchairs were
used for “safety” and the convenience of staff. Such use of a wheelchair is an inappropriate form
of restraint, During these visits, Disability Rights NC staff members observed students sitting in
Rifton chairs. We learned that for many of these students, the Rifton chairs do not serve as
adaptive equipment or assistive technology, Instead, they are used to contain the students and
“keep them still” during classroom instruction. Such use of a Rifton chair is an inappropriate
form of restraint. Disability Rights NC réceived information indicating that these practices are
faitly commonplace. Therefore, we determined that there is probable cause to believe students at

919.256.2919

EXHIBIT

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North Carolina's Protection 3724 National Drive
and Advocacy System Suite 100
Raleigh, NC 27612

www disabilityrightsne.org

Metro School have been subjected to the use of inappropriate restraint, and thus to abuse and/or
neglect.

[look forward to hearing from you by close of business on Wednesday, August 16, 2017.
Disability Rights NC hopes we can resolve this matter by then, but is prepared to proceed as
necessary at that time.

Thank you, .
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Kristine L. Sullivan

EXHIBIT

tebbles”

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Woods, Jamie M.

From: Kristine Sullivan <kristine.sullivan@disabilityrightsnc.org>
Sent: Friday, June 16, 2017 5:04 PM

To: Woods, Jamie M.

Ce: Joonu-Noel Coste

Subject: Authority to access records

Melissa,

Thank you for speaking with me this afternoon regarding Disability Rights NC’s request for records from the Metro
School, As you requested, | am sending additional information that explains the legal authority for the breadth of our
request.

Please note that | am only referencing the DD Act here (and the PAIR Act, as it simply states that the Protection and
Advocacy System (P&A) has the same authority under PAIR as under the BD Act) just for simplicity, and because, as |
stated on the phone, | believe these are the two Acts most relevant to the children at Metro. To the extent that the any
student has a mental illness and would be covered under the PAIMI Act, the relevant provisions of the PAIMI Act are the
same as the DD Act.

As you know no doubt know from your own research into the P&A statutes, Disability Rights NC is entitled to access
records of an individual in a number of situations, including (1) where we have a client, and the client or guardian has
authorized us to access his/her records; (2) where an individual cannot authorize access, he/she has no guardian or hasa
State (e.g. DSS) guardian, and we have received a complaint or determined there is prabable cause to believe
abuse/neglect has occurred; or {3} where we have received a complaint or determined probable cause exists, we have
made a good faith effort to contact the guardian upon receiving the guardian’s name and contact information, and the
guardian has failed or refused to provide consent on behalf of the individual. 45 C.F.R. 1326.25(a). We acknowledge
that (1) is not applicable, as we have ne client in this matter. Our request therefore relies on (2) and (3).

For some of the studants, Disability Rights NC has recelved a complaint of alleged abuse or neglect, and seeks the
requested records based upon such a complaint. A complaint includes any communication or report, whether formal or
informal, alleging abuse or neglect of an individual with a developmental disability. 1326.19. | shared the basis for this
complaint during our telephone conversation. For the remainder of the students (and to answer your question from
earlier more thoroughly and explicitly}, Disability Rights NC has determined that there is probable cause to believe that
the students may have been, or may be, subjected to abuse/neglect. Based on the information provided to Disability
Rights NC and our observations during the monitoring visit (including the extensive number of wheelchairs, Rifton chairs,
and other devices present in Metro’s classrooms that constitute a restraint), Disability Rights NC finds there is a
reasonable ground to believe that all of the other students at Metro have been or may be subject to

abuse/neglect. Therefore, Disability Rights NC is entitled to obtain the requested records for all students at Metro, and
is not required to narrow the group further.

Unfortunately there are no controlling cases in North Carolina on this point. There is an illustrative case from lowa. In
towa Prot, & Advocacy Servs. v. Gerard Treatment Programs, L.t.C., 152 F, Supp. 2d 1150 (N.D. lowa 2001}, the U.S.
District Court for the Northern District of lowa held that the lowa P&A had the authority to access all records of
individuals in the Gerard Treatment Programs. The Court referenced a similar case from Pennsylvania, Penn. Prot.

& Advocacy, inc. v. Royer-Greaves Sch. For Blind, 1999 U.S. Dist. LEXIS 4609, 1999 WL 179797 (E.D. Pa. 1999). In Royer-
Greaves, the Court denied the Pennsylvania P&A access to all of the records it sought, finding that the P&A had not
presented any evidence that it received a complaint regarding an individual or that it had made a probable cause
determination. In a footnote, the court noted E iT

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This ruting today should not be read to hold that there are no circumstances under which a P&A could
have a more generalized access to records. For exampie, the Court can envision

a situation where a P&A receives complaints of serious widespread abuse against numerous residents,
or has probable cause to suspect that the health and safety of numerous

residents is in serious and immediate jeopardy. Should sucha situation present itself, it could warrant
a P&A to have more generalized access to all of the records to properly

investigate.

Royer-Greaves at *27,n.11.

The Gerard court distinguished the circumstances before it from those in Royer-Greaves. It noted that the P&A had
alleged it received information sufficient to make a probable cause determination and thus fell within the “exceptional
circumstances contemplated in footnote 11.” Gerard at 1172, The Court further stated that while the P&A had not
expressly stated the precise nature of the threat to all residents, it appeared to be an alleged general misuse of
restraints. id. These allegations were sufficient to establish likelihood on the merits, and to support the preliminary
injunction sought by the P&A. It is Disability Rights NC’s position that it has sufficiently stated a basis for access to the
records of all students at the Metro School.

| look forward to discussing this with you further.

Thank you,
Kristine

Kristine 1. Sullivan

Sentor Attorney

Disability Rights NC

3724 National Drive, Suite 100
Raleigh, NC 27612

Phone: 919-856-2195

TTY: 1-888-268-5535

Fax: 919-856-2244

kristine sullivan @disabilityrightsnc.org
http://www.disabilityrightsne.org

Disability Rights NC participates in the State Employees Combined Campaign. Our SECC # is 1544.

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EXHIBIT

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Case 3:03-cv-05062-FDB Document 25 Filed 04/11/03 Page 1 of 9
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8 UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF WASHINGTON
9 AT TACOMA
WASHINGTON PROTECTION AND
ADVOCACY SYSTEM, INC , a Washington
non-profit corporation,
12 Case No C03-5062 FDB
Plaintiff,
13 ORDER DENYING PLAINTIFF'S
Vv MOTION FOR PRELIMINARY
14 INJUNCTION
EVERGREEN SCHOOL DISTRICT and
RICHARD MELCHING, 1n his official
capacity as the Superintendent for the
Evergreen School District,
Defendants
18 Plamtff Washington Protection and Advocacy System, Inc (““WPAS”) seeks a preliminary

19 || 1Nyunction to obtain the names of all students with disabilities participating in the Evergreen School
90 || District’s (“the District”) Work Experience Program (“WEP” or “Program”) and contact

21 || information for their parents and/or guardians. The District and Richard Melching, Superintendent
22 || for the District, refuse to release the requested information and oppose WPAS’s Motion for

93 || Prelimmary Injunction now before the Court The Court has carefully reviewed the pleadings and

24 || documents filed in this matter and finds that WPAS’s Motion for Preliminary Injunction should be

EXHIBIT

95 || DENIED

26 | ORDER - 1 (AUN AYO A 0 TT
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CV 03-03062 00000025

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BACKGROUND

This case was prompted by complaints WPAS received from Mr Finders, a parent of a
student with disabilities enrolled in the District. WPAS 1s a protection and advocacy system (“P&A
system”) designated by the Governor of the State of Washington under RCW 71A 10 080 to
implement a program for the protection and advocacy of the rights of persons with developmental
disabilities pursuant to the Developmentally Disabled Assistance and Bull of Rights (“DD”) Act, 42
USC § 15041 et seq , the Protection and Advocacy for Individuals with Mental Illness (“PAIMI”)
Act, 42 USC § L0801, ef seq , the Protection and Advocacy for Individuals with Traumatic Brain
Injury (“PATBI”) Act, the Protection and Advocacy for Individual Rights (“PAIR”) Act
(hereinafter “the P&A Acts”)

Mr Finders complained that his child along with other students with disabilities at Heritage
High School (“Ileritage”) were required by the District to collect garbage and recycling, as well as
lunchroom tables and chairs after school lunches as part of the school’s WEP ' In addition, NF,
Mr Finder’s child, reported that a Heritage teacher required students with disabilities to collect
recyclable trash on a daily basis and cash in the recycling ata local store The teacher allegedly
saved and used the collected funds for field trips

Acting on these complaints, WPAS sent Heritage’s Special Service Department a probable
cause letter on December 6, 2002 requesting right of access to names, addresses, and phone
numbers of all students and their parents or guardians who participate in both the special education
program and the WEP WPAS specifically stated 1m its December 6, 2002, letter that 1ts probable
cause authority (“P&A authority”) allows P&A’s to mvestigate incidents of abuse and neglect of

individuals with disabilities if the incidents are reported to the system and there 1s probable cause to

'The record reveals that approximately 125 high school students in the District participate in
the WEP WEP participants qualify for “individualized educational programs” under the IDEA and
receive academic credit for their participation Participation in the WEP 1s voluntary and requires
parental permission

ORDER - 2

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believe that the incidents occurred See Decl of Tara Herival, Exh 3A

The District, through its attorney, denied WPAS request claiming that WPAS lacked the
authority to obtain the information without parental consent The District maintains this position
here and argues that release of the requested information would violate Family Educational Rights
and Privacy Act (“FERPA”), 20 USC § 1232g et seq and the Individuals with Disabilities
Education Act (“IDEA”), 20U SC §§ 1400 et seq The District further argues that the WPAS does
not have probable cause to believe that students in the District are being abused and neglected

WPAS argues 1n 1ts memoranda supporting 1ts Motion for Preliminary Injunction that it has
a statutory right of access under the aforementioned P&A Acts WPAS does not agree that FERPA
and the IDEA trump tts P&A authority WPAS also argues that Mr Finder’s complaint 1s sufficient
to establish probable cause that disabled students in the District are beng abused and neglected and
that the District 1s violating its constitutionally protected rights to freedom of speech and
association under the First Amendment to the United States Constitution

Resolution of this matter requires a determination as to whether WPAS has met the standard
for a preliminary injunction

STANDARD FOR PRELIMINARY INJUNCTION

To obtain a preluminary injunction, WPAS bears the burden of showing either (1) a
combination of probable success on the merits and the possibility of irreparable injury, or (2)
serous questions as to these matters and the balance of hardships tips sharply 1m its favor
Stuhibarg v Int’l Sales Co Inc v John D Brush & Co , 240 F 3d 832, 839-840 (9th Cir. 2001)
These two tests represent “a continuum of equitable discretion whereby the greater the relative
hardship to the moving party, the less probability of success must be shown ” See Regents of Univ
of Calif v ABC, Inc , 747 F 2d S11, 515 (9th Cir 1984)

Injunctions are classified as either “mandatory” (those commanding performance of acts on

the part of defendants) or “prohibitory” (those prohibiting acts on the parl of defendants). See

ORDER - 3

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Meghrig v KFC Western, Inc ,516 US 479, 484-485 (1996) Although the factors for
consideration of mandatory and prohibitory injunctions are the same, mandatory injunctions are
subject to a higher scrutiny See Dahl v HEM Pharmaceuticals Corp , 7 F 3d 1399, 1403 (9th Cir
1993)

Mandatory preliminary injunctions go “well beyond simply maintaining the status quo” and
arc particularly disfavored See Stanley vy University of Southern California, 13 F 3d 1313, 1320
(9th Cir, 1994) As such, mandatory preliminary relief should be dented unless the facts and law
clearly favor the moving party /d

Because WPAS seeks to require the District to go beyond the status quo and release
otherwise private information, the Court construes WPAS’s request for preliminary relief as a
motion for mandatory preliminary wyunction Thus, the Court, applying the heightened standard,
will only issue WPAS’s requested mjunction 1f the law and the facts weigh heavily in WPAS’s
favor

DISCUSSION

1. Likelihood of Success On the Merits

The primary issue before the Court 1s whether WPAS has sufficiently demonstrated a
likelihood of success on the merits To establish a likelihood of success here, WPAS must show
that the facts and the law clearly support access to the District's records A careful review of the
record reveals that WPAS has not satisfied 1ts burden for purposes of this motion

First, the Court is not sufficiently satisfied that the P&A Acts override the FERPA and
IDEA Michigan P & A Serv, Inc v Miler, 849 F. Supp 1202 (WD Mich 1994), the only case
cited by WPAS for this proposition, 1s not persuasive The Michigan P & A Serv court, faced with
a motion for summary judgment, addressed whether the P&A service was being denied reasonable
access towdividuals See id at 1205 The court did not address the issue we face here whether the

P&A service had the authority to gain access to parent/guardian contact information for previously

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unidentified students with disabilities participating ina WEP In the absence of persuasive
authority on this particular issue, the Court 1s not inclined to disrupt the status quo and grant
WPAS’s request The District’s citation to Developmental Disabilities Program, 61 Fed Reg
51,147 (1996) (codified at45 C FR 1385) supports this conclusion

Moreover, the Court does not agree that the two bodies of law can be “harmonized” as the
type of information sought cannot properly be characterized as “directory information ” Directory
information, a term WPAS concedes 1s defined only under FERPA, clearly does not include contact
information for parents/guardians or imformation sufficient to establish which students are
participating inthe WEP See 20 USC § 1232g(a)(5)(A)

Second, even if the Court could find that the P&A Acts give WPAS the authority to access
the requested information, WPAS still must establish a likelihood of success on its argument that tt
has probable cause to believe that the District 1s abusing and neglecting N F’ and other students
with disabilities participating in the WEP

Under the DD Act, P&A systems have the authority to investigate incidents of abuse and
neglect of individuals with developmental disabilities if the incidents are reported to the system or
if there 1s probable cause to believe that such individual has been subject to abuse or neglect 42
USC 15043(B) Probable cause under the DD and PAIMI Acts 1s “a reasonable belief that an
individual with mental illness has been, or may be at significant risk or being subject to abuse or
neglect” 42 CFR §512,42CFR § 1386.19

Having reviewed the facts of this case carefully, the Court does not find that the allegations
are sufficient to establish probable cause that N F has suffered abuse and neglect Even assuming
WPAS’s allegations to be true, the Court simply finds that collecting and recycling garbage does
not present a serious risk or potential for injury as contemplated by the P&A Acts Furthermore,

WPAS’s argument that it 1s the “sole and final arbiter of whether probable cause exists” 1s

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unpersuasive Plaintiff's Motion for Preliminary Injunction at 11 WPAS cites no case law
establishing that its probable cause determinations cannot be reviewed by this Court

WPAS further argues that the allegations here are sufficient to require the District to release
contact information for al/ disabled student participating in the WEP tn the District Probable cause
for generalized access to records has been established in a handful of cases For instance, in fowa

Protection and Advocacy Services v Gerard Treatment Programs, 152 F Supp 2d 1150(ND
Iowa 2001) the court permitted the Protection and Advocacy organization to access patients records
ata psychiatric medical institution after a patient died from the misuse of restraints The Girard
court found that broad access was necessary to determine whether patient abuse and neglect was

occurring in the institution

The facts of this case are not so compelling ~The Court has already established that there 1s
an insufficient showing of abuse and neglect to grant WPAS access to NF ’s records Even if this
Court was satisfied that there 1s probable cause that N F, 1s suffered abuse and neglect, the evidence
is insufficient to establish that a// disabled students in the District are required to participate in the
activities complained of Complaints from one parent at one school in the District are insufficient
to establish probable cause to believe that disabled students throughout the District are being abused
and neglected As such, the Court 1s not inclined to grant WPAS “broad access” to the requested
records,

Finally, the Court 1s not satisfied that a likelihood of success has been established on
WPAS’s First Amendment claim Again, the cases cited by WPAS concern access to individuals,
not school records identifying students with disabilities participating m the WEP Thus, a

preliminary injunction will not be issued for this reason
2. Irreparable Injury

WPAS argues that the students with disabilities in the District will suffer wreparable harm if

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preliminary reliefs not granted For support, WPAS relies on Cheema vy Thompson, 67 F 3d 883,

885 (9thCir 1995), overruled on other grounds by City of Boerne v Flores, 521 US 507 (1997)

The Court, however, 1s not persuaded by Cheema

Cheema 1s a school safety case that concerns the interests of three Sikh students whose
religious beliefs required them to carry ceremonial knives at alltimes See /d The students sought
a preliminary injunction against the enforcement ofa school weapons ban See Jd Besides being
factually dissimilar, Cheema stands for the proposition that denial of an educational opportunity
amounts to irreparable myury The issue here 1s not whether the students with disabilities
participating in the WEP will suffer irreparable injury but whether WPAS will suffer irreparable

injury by the District’s actions

The District argues that irreparable injury cannot be established because the WPAS, Mr
Finders, and any other parent of special education students at Heritage have available an adequate
legal remedy, other than injunctive relief, under the IDEA and Title II of the Americans with
Disabilities (“ADA”) Act, 42 USC §§ 12141 et seq The District points out that remedies under
these statutes would preserve privacy interests in educational records While these remedies are
available to Mr Finders, and other similarly situated parents, the Court 1s not persuaded that they
are available to the WPAS Nonetheless, WPAS has failed to establish, for purposes of this motion,

that it will be irreparably injured if sts request 1s not granted

Furthermore, the Court recognizes that the deprivation of First Amendment freedoms, for
even minimal periods of time, can constitute irreparable injury for prelimmary myunction purposes
See Elrode v Burns, 427 US 347, (1976) However, given the tenuous nature of WPAS’s First
Amendment claim, the Court 1s unwilling to disrupt the status quo and order the District to release
the contact information
3. Balance of Hardships

When examining the balance of hardships, the Court must weigh carefully the relative

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hardships to the parties The greater the relative hardship to the moving party, the less strong need
be the showing of probable success that ts required Beltran vy Myers, 677 F 2d 1317, 1320 (9th Cir
1982) The Court is not convinced that the equities tip sharply in WPAS’s favor Rather, the Court

finds that the balance of interests favors preservation of the status quo and the right to privacy in

educational records

CONCLUSION

WPAS has failed to show that the facts and the law weigh so heavily in tts favor that
disruption of the status quo and of issuance of a mandatory preliminary injunction 1s warranted
Having failed to meet its burden, the Court has no choice but to deny WPAS’s request fora
preliminary injunction requiring the District to release the names of all students with disabilities
participating in the District’s WEP and contact information for their parents and/or guardians

ACCORDINGLY

IT IS SO ORDERED

(1) Plaintiff's Motion for a Preliminary Inyunction (Dkt #2) 1s DENIED, and

(2) The Clerk of the Court 1s directed to send copies of this Order to counsel for Plaintiff

and Defendants

DATED this_/ { day of April, 2003

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car
United States District Court
for the
Western District of Washington
April 14, 2003

* * MAILING CERTIFICATE OF CLERK * *

Re: 3:03-cv-05062

True and correct copies of the attached were mailed by the clerk to the
Eollowing

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Judge Burgess

~ EXHIBIT I

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& Caution
As of: September 28, 2017 1:22 PM Z

Pennsylvania Protection & Advocacy, Inc. v. Royer-Greaves Sch. for Blind

United States District Court for the Eastern District of Pennsylvania
March 24, 1999, Decided ; March 25, 1999, Filed
CIVIL ACTION NO. 98-3995

Reporter
1999 U.S, Dist. LEXIS 4609 *; 1999 WL 179797

PENNSYLVANIA PROTECTION & ADVOCACY, INC.,
Plaintiff, v. ROYER-GREAVES SCHOOL FOR BLIND,
et al., Defendants.

Disposition: [*1] Plaintiff's Motion for Summary
Judgment DENIED in part and GRANTED in part.
JUDGMENT entered in favor of the plaintiff to the extent
that plaintiff seeks access to Royer Greaves during
normal working and visiting hours without prior notice or
appointment, and to the extent plaintiff requests a list of
the legal guardian of the Royer Greaves residents and
students. JUDGMENT entered in favor of the
defendants to the extent plaintiff required to make an
appointment twenty-four (24) hours in advance of
meeting with individual students and/or residents, and to
the extent plaintiff sought access to the records of the
Royer Greaves students and/or residents.

Core Terms

records, residents, probable cause, regulation,
developmental disability, quardian, individuals,
appointment, advocacy, neglect, jeopardy, services,
complaints, name and address, legal guardian,
summary judgment, facilities, restrictions, rights,
authorization, conditions, patients, argues, notice,
reasonable time, district court, recipients, monitor,
health and safety, visiting hours

Case Summary

Procedura! Posture

Plaintiff, a state protection and advocacy group, filed a
motion for summary judgment in a cause of action
against defendant, a schoo! for the blind, alleging that
defendant violated the Developmental Disabilities
Assistance and Bill of Rights Act, 42 U.S.C.S. § 6000 et

residents, and to its student records and/or to the
names of residents’ guardians.

Overview

Defendant, a school for the blind, argued that access
rights granted tc plaintiff, a state protection and
advocacy group, under the Developmental Disabllities
Assistance and Biff of Righfs Act (Act), 42 USC.S.§
6000 ef seg., extended only to monitoring the safety of
persons receiving advocacy services. The court
disagreed, pointing to express language in the Act that
extended plaintiffs reach to all residents of facilities
providing services to the developmentally disabled. As
to time and place restrictions to be imposed on plaintiff,
the court rufed that normal hours facility access could be
without notice, as monitoring of conditions could be
hindered if notice required, but resident access required
24 hour notice, so as to not disrupt normal activities or
increase student stress. In construing the Act's records
access provision, the court stated that plaintiff was not
entifled to all student records, but only to individual
records based on specific complaints or probable cause.
Yet, absent any entitlement to these records, plaintiff
could obtain, upon request, a list of legal guardians, so
as to advocate for students long before they were in
Jeopardy, the court concluded.

Outcome

Summary judgment mation by plaintiff, a state protection
and advocacy group, granted to the extent that facility
access to defendant, a school for the blind, was limited
to normal working hours, denied to the extent that
student access was without prior notice or appointment
and to the extent that plaintiff sought access to student
records not prompted by individual complaints, but
granted as to plaintiffs request for list of legal guardians.

LexisNexis® Headnotes

seq., by denying access to defendant's facility, to its

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Civil Procedure > ... > Summary
Judgment > Mations for Summary
Judgment > General Overview

Civil Procedure > Appeals > Summary Judgment
Review > General Overview

Civil Procedure > ... > Summary
Judgment > Burdens of Proof > Movant Persuasion
& Proof

Civil Procedure > ... > Summary
Judgment > Entitlement as Matter of Law > General
Overview

Civil Procedure > ... > Summary
Judgment > Entitlement as Matter of Law > Genuine
Disputes

HN 1a] Summary Judgment, Motions for Summary
Judgment

A reviewing court may enter summary Judgment where
there are no genuine issues as to any material fact and
one party is entitled to judgment as a matter of law. The
evidence presented must be viewed in the light most
favorable to the non-moving party. The inquiry is
whether the evidence presents a _ sufficient
disagreement to require submission to the jury or
whether it is so one sided that one party must, as a
matter of law, prevail over the other. In deciding the
motion for summary judgment, it is not the function of
the court to decide disputed questions of fact, but only
to determine whether genuine issues of fact exist.

Civil Procedure > ... > Discovery > Methods of
Discovery > General Overview

Civil Procedure > ... > Summary
Judgment > Burdens of Proof > General Overview

Civil Procedure > ... > Summary
Judgment > Burdens of Proof > Movant Persuasion
& Proof

Civil Procedure > ... > Summary
Judgment > Burdens of Proof > Nonmovant

Persuasion & Proof

HN2[a] Discovery, Methods of Discovery

The moving party has the initial burden of identifying
evidence which it believes shows an absence of a
genuine issue of material fact. The moving party's
burden may be discharged by demonstrating that there
is an absence of evidence to support the nonmoving
party's case. Once the moving party satisfies its burden,
the burden shifts to the nonmoving party, who must go
beyond its pleadings and designate specific facts, by
use Of affidavits, depositions, admissions, or answers to
interrogatories, showing that there is a genuine issue for
trial. Moreover, when the nonmoving party bears the
burden of proof, it must make a showing sufficient to
establish the existence of every element essential to
that party's case. Summary judgment must be granted
against a party who fails to make a showing sufficient to
establish the existence of an element essential to that
party's case, and on which that party will bear the
burden of proof at trial.

Public Health & Welfare Law > Social
Services > Institutionalized Individuals > General
Overview

Public Health & Welfare

Law > Healthcare > Services for Disabled & Elderly
Persons > General Overview

Institutionalized

HN3{xe] ~— Social

Individuals

Services,

See 42 U.S.C.S. § 6042(a)(2)(H).

Public Health & Welfare Law > Social
Services > Institutionalized Individuals > General
Overview

Public Health & Welfare
Law > Healthcare > Services for Disabled & Elderly
Persons > General Overview

HN4je
Individuals

Social Services, Institutionalized

See 45 C.F.R. § 1386. 22/q).

Public Health & Welfare
Mite > Healthcare > Services for Disabled & Elderly

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1999 U.S. Dist. LEXIS 4609, *1

Persons > General Overview

Public Health & Welfare Law > Social
Services > Institutionalized Individuals > General
Overview

HN&5[a] Healthcare, Services for Disabled & Elderly
Persons

Reasonable access includes general facility access
without notice, and patient access with 24 hour notice.

Public Health & Welfare Law > Social
Services > Institutionalized Individuals > General
Overview

Public Health & Welfare
Law > Healthcare > Services for Disabled & Elderly
Persons > General Overview

HN6is] Institutionalized

Individuals

Social Services,

See 42 U.S.C.S. § 6042(a)(2)-(1).

Public Health & Welfare
Law > Healthcare > Services for Disabled & Elderly
Persons > General Overview

Public Health & Welfare Law > Social
Services > Institutionalized Individuals > General
Overview -

HN7 [ae Healthcare, Services for Disabled & Elderly
Persons

See 45 C.F.R. § 1386.22/1).

Public Health & Welfare
Law > Healthcare > Services for Disabled & Elderly
Persons > General Overview

Public Health & Welfare Law > Social
Services > Institutionalized Individuals > General
Overview

~ EXHIBIT

HN8 ata] Healthcare, Services for Disabled & Elderly
Persons

See 42 U,S.C.S. § 6042(a)(2)-I(ii).

Counsel: For PENNSYLVANIA PROTECTION &
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For PENNSYLVANIA PROTECTION & ADVOCACY,
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USA.

For ROYER-GREAVES SCHOOL FOR BLIND,
DEFENDANT: JANE LANDES FOSTER, WILLIAM E.
MAHONEY, JR., STRADLEY, RONON, STEVENS &
YOUNG, PHILADELPHIA, PA USA.

For CAROL T. DALE, DEFENDANT: JANE LANDES
FOSTER, STRADLEY, RONON, STEVENS & YOUNG,
PHILADELPHIA, PA USA.

Judges: Clarence C. Newcomer, [*2] J.

Opinion by: Clarence C. Newcomer

Opinion

MEMORANDUM

Presently before the Court is Plaintiffs Motion for
Summary Judgment and Defendant's response thereto.
For the reasons that follow, said Motion will be granted
in part and denied in part.

|, BACKGROUND

The plaintiff, Pennsylvania Protection and Advocacy Inc.
("PP&A"}, is a non-profit Pennsylvania corporation that
has been designated by the Commonwealth as the
protection and advocacy system for the state. The
PP&A is established as part of the federal protection
and advocacy system under the Developmental
Disabilities Assistance and Bill of Rights ("DD") Act, 42
U.S.C. §§ 6000 et seq., and its sister statute. ' As
articulated by the Eleventh Circuit in Ala, Disab. Adv, v.
AAS. Tarwater Develop, Center, 97 F.3d 492 (11th Cir.

142 USC. §§ 10807 et seq., which is modeled after the DD

Jct and provides paratlel protections for individuals with

ental iliness.

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7996), the DD Act was passed after inhumane and
despicable conditions were discovered at New York's
Willowbrook State School for persons with
developmental disabilities. id. at 494. The purpose of
the DD Act is to protect the human and civil rights of the
vulnerable developmentally disabled. /d. Pursuant to the
Act, a state cannot receive federal funds for services to
said [*3] persons unless it has established a protection
and advocacy system. Protection and advocacy
systems are empowered to, among other things, "(1)
investigate incidents of abuse and neglect of persons
with developmental disabilities; (2) pursue legal,
administrative, and other appropriate remedies on
behalf of such persons to ensure the enforcement of
their constitutional and statutory rights; and (3) provide
information and referrals relating to programs and
services addressing the needs of these persons." fd. af
494-495,

The defendants are Royer-Greaves School for the Blind
("RG"), and Carol T. Dale, sued in her individual
capacity as executive director of the school. 2 RG is a
non-profit entity that provides special education to multi-
handicapped, mentally challenged blind students. The
school has approximately 20 residents. it is not disputed
that the school is subject [*4] to the DD Act. According
to the affidavit of defendant Carol T. Dale, the school is
subject to licensure and oversight of several state and
local agencies, and has never had its license revoked,
suspended or impaired,

The instant dispute traces its roots back to October of
1997. In early October, 1997, PP&A called Dale to make
an appointment to visit the school. PP&A alleges that it
initiated the call after receiving complaints from several
sources concerning activities that it perceived as
systemic neglect, as well as after identifying deficiencies
in state Office of Mental Retardation ("OMR") reports
also perceived by PP&A to constitute systemic neglect,
According to RG, at the time of the visit, PP&A did not
refer to any alleged complaints or incidents of neglect or
abuse, and PP&A does not contend they so informed
RG. Further, the only evidence of these alleged
complaints submitted to the Court in support fs the
affidavit of Patricia Madigan, [*5] a PP&A employee,
who said she "became aware of several complaints
about RG from several people," and that "these
complaints raised issues involving systemic ‘neglect’ as
| understand and work with that concept under the DD
Act." (Pl. Ex. 1, P 4}. She also reviewed the OMR

*For simplicity, the Court will often refer to the defendants as

RG. EXHIBIT

reports, but does not specify what she believed
constituted systemic neglect, nor has PP&A provided
these reports,

On October 13, 1997, the appointed visit took place.
According to Madigan's affidavit, other PP&A
representatives ° witnessed several incidents where the
health and safety of the residents appeared to be in
"serious potential jeopardy," including tripping hazards,
a desk cluttered with a pack of cigarettes and an
unidentified bottle of (maybe) prescription drugs, and
open bottles of cleaning solutions on the sink in a
classroom used for the younger students. A copy of the
repart has not been provided, nor has an affidavit from
people whe actually conducted the inspection.

According [*6] to Madigan, after this initial visit, she
requested additional reports from OMR and planned a
follow-up visit to RG. Madigan asserts that the OMR
inspections 4 contained reports of Inaccurate abuse
reporting to the RG Board of Directors, lack of personal
privacy during self-care, failure to complete
individualized program plans for each individual in a
timely manner upon admission, and staffing issues such
as incomplete child abuse background checks and lack
of physical exams, (PI. Ex. 1, P 7.) She further states
that she was provided by OMR a summary of the six
unusual incident reports filed by RG in 1997, which
include a death by asphyxiation, three hospital
emergency room treatments, and a self-injury among
the residents of RG. Regarding the unusual incident
reports, defendant Dale in her affidavit states that the
Department of Public Welfare's Mortality and Morbidity
Committee conducted an investigation and found no
fault on the part of the school, nor has the school been
found to be at fault in connection with any unusual
incident report that it has filed (Dale Affid. P 28).

(*7] Based on the above information, Madigan and
another PP&A representative made an unannounced
site visit to RG on Jan 28, 1998. Although she noticed
some corrections, Madigan also witnessed
circumstances that she claims raised the potential for
serious health and safety problems. She saw a
medication cart left unattended with the keys on top,
and she felt that the staff at the swimming pool was not
paying adequate attention to residents and/or was short-
handed.

On March 6, 1998, and again on May 27, 1998, PP&A

3 The affiant was not present al the inspection.

nain, these reports have not been provided.

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attempted two more unannounced site visits, including
access to the residents, the facilities, and their records.
RG refused these requests. With regard to
unannounced site visits, RG insisted on PP&A making
an appointment first. On July 31, 1998, PP&A
commenced the present action.

In the instant Motion, PP&A moves for summary
judgement, claiming that the basic facts are not in
dispute, and they are entitled to a judgment as a matter
of law on its claim that the defendants have violated the
DD Act by: (1)denying PP&A access to the facility; (2)
denying PP&A access to individuals residing within the
facility; and (3) denying PP&A the opportunity to review
and obtain copies of [*8] the records of the students
and/or failing to provide PP&A with the name and
address of the legal guardian of each resident of the
facility. PP&A seeks an Order by this Court granting
them unlimited access to RG during working and visiting
hours without prior notice or appointment, and a
complete list of the names of the legal guardians so
PP&A may contact them concerning access to records.

Il. SUMMARY JUDGEMENT STANDARD

HN1/] A reviewing court may enter summary
judgment where there are no genuine issues as to any
material fact and one party is entitled to judgment as a
matter of law. White v. Westinghouse Elec. Co., 862
F.2d 56, 59 (3d Cir, 1988). The evidence presented
must be viewed in the light most favorable to the non-
moving party. /d. "The inquiry is whether the evidence
presents a sufficient disagreement to require
submission to the jury or whether it is so one sided that
one party must, as a matter of law, prevail over the
other." Anderson v. Liberty Lobby, Inc., 477 U.S. 242.
249, 91 L. Ed. 2d 202, 106 S. Ct, 2505 (1986). © In
deciding the motion for summary judgment, it is not the
function of the Court to decide disputed questions of
fact, but only [*9] to determine whether genuine issues
of fact exist. fd. at 248-49,

HN2F] The moving party has the initial burden of
identifying evidence which it believes shows an absence
of a genuine issue of material fact. Celofex Corp. v.
Catrett, 477 U.S. 317, 324, 91 L. Ed. 2d 265, 166 S. Ct
2548 (1986), Childers v. Joseph, 842 F.2d 689, 694 (3d
Cir, 1988}. The moving party's burden may be

5 Although this is a bench trial, the Court's role on summary
judgment is no different. fn re: Unisys Savings Plan
Litigation, 74 F.3d 420, 433 n.10 (3d. Ci 9
U.S. 810 (1996).

discharged by demonstrating that there is an absence of
evidence to support the nonmoving party's case.
Cefotex, 477 U.S. at 325. Once the moving party
satisfies its burden, the burden shifts to the nonmoving
party, who must go beyond its pleadings and designate
specific facts, by use of affidavits, depositions,
admissions, or answers to interrogatories, showing that
there is a genuine issue for trial. fd. at 324. Moreover,
[*10] when the nonmoving party bears the burden of
proof, it must "make a showing sufficient to establish the
existence of [every] element essential to that party's
case." Equimark Commercial Fin. Co, v. C.LT. Fin.
Servs. Corp., 812 F.2d 141, 144 (3d Cir. 1987) (quoting
Celotex, 477 U.S, at 322). Summary judgment must be
granted "against a party who fails to make a showing
sufficient to establish the existence of an element
essential to that party's case, and on which that party
will bear the burden of proof at trial." White, 862 F.2d at
29 (quoting Celotex, 477 U.S. at 322),

Ik. DISCUSSION

1. Access to the Facility

The right of access to facilities is established in the DD
Act under HN3[F] § 6042/a)(2)(H). The Act states that
the PP&A must "have access at reasonable times and
locations to any resident who is an individual with a
developmental disability in a facility that is providing
services, supports, and other assistance to such a
resident..." 42 U.S.C. § 6042/(a)(2)(H). According to
HN4[#} 45 C.E.R. § 1386,22(g}, ® the PP&A shall have
the following right of access:

g. Under /§ 6042 (a)(2)(H)] of the Act, the system ”
and all of its authorized [*11] agents shall have
unaccompanied access to all residents of a facility
at reasonable times, which at a minimum shall
include normal working hours and visiting hours, for
the purpose of:
{1)Providing information and training on, and
referral to, programs addressing the needs of
individuals with developmental disabilities, and
the protection and advocacy services available
from the system, including the name, address,
and telephone number of the system and other
information and training about individual rights;
and
(2) Monitoring compliance with respect to the

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® The implementing regulations for the DD Act.

Wetem refers to the PP&A,

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rights and safety of service recipients.

45 CFR. § 1386.22(g)emphasis added).

Defendants first argue that they have not violated the
DD Act by denying access because the plaintiff never
had the authority to the access they requested. In
support of this they argue that the plain language of the
regulation states that PP&A is only entitled to
access [*12] to facilities and residents for the limited
purposes of: (1) providing information, training, and
referral to programs addressing the needs of individuals
with developmental disabilities and the P&A services
available from the system, and 2) monitoring
compliance with the rights and safety of those persons
who are recipients of the advocacy services. They argue
that since none of the students are recipients of the
services offered by the PP&A, and PP&A was not there
to provide information, PP&A had no right of access to
violate. Defendants’ argument has added the word
advocacy to the services described in part 2 of the
above regulation, and the Court thinks this is misplaced.

No Court has ruled as RG is asking this Court to rule,
specifically that the PP&A only has the right to access
the facility to monitor compliance with respect to the
rights and safety of those persons who are recipients of
the advocacy services, nor does the statute so require.
The statute to which 45 C.F.R. § 1386.22 applies, as
outlined above, states that the PP&A must "have access
at reasonable times and locations to any resident who is
an individual with a developmental disability in a facility
that is providing [*13] services, supports, and other
assistance to such a resident" 42 USC. §
6042/a)(2)(H). It is clear by the plain language of the
statute that it is not advocacy service recipients for
whom the PP&A is to monitor compliance, but residents
of facilities that provide services to individuals with
developmental disabilities. The language of the
implementing regulation cited above is entirely
consistent with the Court's reading of the statute. The
reading of the implementing regulation suggested by
defendants is contrary to the language of the regulation,
as indicated by their addition of a word that does not
appear in the regulation, and more importantly, contrary
to the plain language of the statute.

The issue thus becomes what conditions a facility may
impose on a P&A regarding access. More specifically,
can a facility require an appointment prior to the PP&A
having access to the facility. The implementing
regulation clearly states that PP&A should have
unaccompanied access to all residents of a facility at

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reasonable times, which at a minimum shall include
normal working hours an visiting hours. PP&A
insists that this language gives them the right to enter a
facility at any time [*14] during business and visiting
hours. RG, on the other hand, insists that the phrase
"reasonable times" means that they can impose
reasonable restrictions on the times in which PP&A may
come, and certainly requiring that an appointment be
made in advance is reasonable.

Few cases have been decided on this issue, and none
are directly on point. Regardless, both parties argue that
the decided cases support their respective positions. in
Mississippi Protection & Advocacy System, Inc. v
Cotten, 929 F.2d 1054 (5th Cir. 1997), the Court upheld
a trial court's injunction which, infer alia, imposed time
and place restrictions on the Mississippi P&A. In the
underlying case, the district court, after reviewing an
access policy that was extremely limiting to the
Mississippi P&A, including, among other things,
restricting P&A's access to people who were already
clients, and forcing residents to undergo pre-interview
and debriefing in response to a meeting with a P&A
representative, the court ordered the defendants to
submit a proposed order to the court outlining MP&A
access to the facility. Mississippi Protection & Advocacy
system, Inc. v. Cotten, 1989 U.S. Dist, LEXIS 17075,
1989 WL 224953, (S.D.Miss.). The Court [*15] said that
such policy “should provide for regular and frequent
opportunities for MP&A to visit Boswell and speak with
residents on an informal basis. While it is not required
that MP&A have access to all parts of the facility at all
times, provisions must be made for reasonable and
frequent access to all residents." fd. The Court
continued, "the policy should also provide that if an
incident of abuse and neglect is reported to MP&A, or if
MP&A has probable cause to believe it has
occurred...MP&A will have reasonable and prompt
access to the Boswell facility and to all potential
witnesses of the abuse or neglect. /d.

The plaintiff cites the above case for the proposition that
the facilities variety of access restrictions on P&A "could
only create a chilling effect of gigantic proportions." 929
F.2d at 1057. It cannot credibly be argued, however,
that RG’s demand that PP&A make an appointment is
even remotely comparable to the litany of restrictions in
Cotten.

The defendants cite the above case for the proposition
that time and place restrictions designed to minimize
interference with the facility's programs are reasonable.
Unfortunately, the court does not specify exactly [*16]

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what restrictions were considered reasonable. Further,
the district court drew a distinction between access to
residents in the normal course of business, and facility
access in response to a complaint or probable cause.
As such, it is unclear exactly what restrictions were
found to be reasonable, although restrictions on access
to the residents of a facility so as not to disrupt their
routine inherently seem more reasonable than general
access to a facility where there is reason to believe
abuse or neglect is ongoing.

This concept has support in two other cases decided by
federal courts. In Michigan Protection & Advocacy
Service v. Miller, 849 F. Supp. 1202 (W.D.Mich. 1994),
the district court upheld a resident access regime
whereby the Michigan P&A indicated a willingness to
schedule interviews with DSS residents to minimize
interference with the programs offered by the facility for
the residents. /d. at 1208. In discussing the appropriate
tevel of facility access the Michigan P&A was entitled to,
the district court felt the issue was complicated and
referred the issue to two special masters pursuant to
Fed. R, Civ. P. 53. id. at 1270.

In Robbins v. Budke, 739 F. [#47] Supp, 1479 (D.NLM.
1996), the district court found that the P&A's ability to
observe the conditions that the patients are subject to is
"seriously hindered by the requirement that any tours of
the facility take place only with advance notice and only
with an administrative chaperon” Id. at 1488. Again,
however, scheduling appointments with patients the
P&A wished to see to discuss their individual cases was
an approved restriction to access.

Defendants argue that the requirement P&A first make
an appointment is reasonable because the school must
maintain a structured daily protocol, and the schedule
should not be disrupted without first giving the staff a
chance to inform the students that visitors will be
expected on a particular day at a particular time,
reducing the stress on the children. They rely on
Michigan Protection & Advocacy Service, Inc. v. Miller
for the proposition that Courts considering the scope of
P&A's reasonable access have acknowledged that a
“defendant's practical concerns are important and must
be considered in shaping the parameters of access to
facilities." fd. at 1208. The Court agrees that these are
relevant concerns, and considers them in
resolving [*18] this question.

The statute mandates, infer alja, that the PP&A shall
have unaccompanied access to all residents of a facility
at reasonable times to monitor compliance with resp

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to the rights and safety of service recipients. 45 C.F.R. §
1386.22(g). Based on the language of the statute, and
the above cases, the Court finds that HNSI¥]
reasonable access includes general facility access
without notice, and patient access with twenty-four hour
notice. The Court agrees with the court in Robbins that
tours of the facility to monitor conditions that the patients
are subject to are "seriously hindered" if they were to
take place only with advance notice. jd. aft 7488.
Regarding access to patients, the Court agrees with the
defendants that, bearing in mind the nature of the
students at the school and the importance of their daily
protocol, it is not unreasonable for plaintiff to make an
appointment prior to seeing students. As such, the Court
will grant plaintiffs motion to the extent that PP&A will
have access without an appointment to tour the
facilities, and deny plaintiffs motion to the extent it
requests access to the students without an appointment.

Although the defendant [*19] did not move for summary
judgment, the Court sees no purpose to having a trial on
this issue as this case is to be tried to the Court. The
Court finds that the are no facts in dispute regarding this
issue, and makes this ruling as a matter of law.
Accordingly, judgment will be entered consistent with
the Court's ruling on the above issue.

2. Access to Records

Next, plaintiff argues that they have the right either to
access the records of the residents at RG, or at a
minimum have a right to a list of the guardians of the
residents so they may contact the guardians for
individual record access. HNGl#] The relevant portion
of the Act states that the PP&A may gain access to
school records as follows:

(2) such system must-

{Il} have access to all records of-

(iti) any individual with a developmental disability
who has a legal guardian, conservator, or other
legal representative with respect to whom a
complaint has been received by the system or with
respect to whom there is probable cause to believe
the health or safety of the individual is in serious
and immediate jeopardy whenever-

(} such representatives have been contacted
by such system upon [*20] receipt of the name
and address of such representatives;

(Ill) such system has offered assistance to such
representatives to resolve the situation; and

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(ll) such representatives have failed or refused
to act on behalf of the individual....

42 U.S.C. § 6042(a)(2)-().

HN7(¥] The regulation further states:

lf a [P&A] is denied access to facilities and its
programs, individuals with developmental
disabilities, or records covered by the Act it shall be
provided promptly with a written statement of
reasons, including in the case of a denial for
alleged lack authorization, the name and address of
the legal guardian...of an individual with
developmental disabilities.

45 CFR. § 1386, 22¢H).

Plaintiff contends that the defendants must provide a list
of the names and addresses of the legal guardians of
the RG residents ® based on their answer in this matter,
where RG admitted refusing PP&A's requested access
to either the records or a list of all guardians because
PP&A did not provide any justification or authority for
said demand. According to PP&A's reading of the
statute and accompanying regulations, this denial for
lack of authorization is sufficient [*21] to mandate that a
list of the guardians be provided. PP&A further argues
that they have both received "complaints" and have
"probable cause” ® as defined by the Act to entitle them
to record access. Regarding probable cause, PP&A
argues that they have been in the facility several times
and have witnessed and documented instances of
apparent abuse and neglect, and have seen several
instances where the health and safety of residents
appeared to be in serious jeopardy. Plaintiff cites Ala.
Disab. Adv. v. Tarwater Develop. Center, 97 F.3d 492
(11th Cir, 7996) in support of its position, arguing that in
Tarwater an anonymous telephone call implying abuse
and neglect established a complaint and probable cause
under the DD Act, justifying access to records.

§ Every resident of RG has a guardian.
® Probable cause is defined as:

[A] reasonable ground for belief that an individual with
developmental disabilities has been, or may be, subject
to abuse or negiect. The individual making such a
determination may base the decision on reasonable
inferences drawn from his or her experience or training
regarding similar incidents, conditions or problems that
are usually associated with abuse or neglect.

48 C.F.R, § 1386, 19.

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[*22] Royer Greaves contends that PP&A is not
entitled to a list of guardians because PP&A never
established a right to review the records of al} RG
students, which is what they requested. RG points to the
language in the statute which grants PP&A the right to
access the records of an individual with a
developmental disability, and the records sought must
be of an individual with respect to whom a complaint
has been received by the system or with respect to
whom there is probable cause to believe the health or
safety of the individual is in serious and immediate
Jeopardy. 42 U.S.C. § 6042/a)/2)-I(iil (emphasis added),
Based on this language, RG argues PP&A must request
records of individual residents for whom a complaint has
been received or probable cause exists, not the general
request for all records PP&A has made. RG rightly
points out there is no evidence PP&A ever requested
the records of a specific individual, or cited a complaint
or made a determination of probable cause regarding a
specific individual. RG further argues that there is
nothing in the Act or regulations to suggest that PP&A
has the authority to demand access to all records for a
general investigative [*23] purpose, but is instead
limited to individuals PP&A has reason to believe have
suffered some incident of abuse or neglect, either
through a complaint or a determination of probable
cause. Defendants argue that the Tarwater decision
cited by the plaintiff supports defendants’ position
regarding the requirement of complaints and probable
cause being directed towards an individual. In Tarwater,
the 11th Circuit found that an anonymous telephone call
constituted both a complaint and established probable
cause. The anonymous call identified two residents
whose deaths were suspicious. The Court relied in part
on the specific information provided by the caller
regarding the two individuals in finding the calf sufficient
to establish both a complaint and probable cause. RG
argues that the Court in its holding agreed that a
probable cause determination must be made with
respect to a specific individual.

Since, according to RG, PP&A never had a right io
access the records because a specific individual was
never identified, PP&A has no right to a list of
guardians. RG contends that the language in 45 CLEAR.
§ 1386.22(1} does not demonstrate an entitlement to a
list of guardians because [*24] the records request
made by the PP&A was not covered by the Act. The
regulation states in pertinent part, "if a system is denied
access to...records covered by the Act, [the system]
shall be provided promptly with a written statement of
reasons, including, in the case of denial for alleged lack
of authorization, the name and address of the legal

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guardian..." id. The requested records are not covered
by the Act, according to RG, because the Act does not
contemplate providing access to all records, but instead
only contemplates access to individual records based
on complaints or probable cause.

Regarding access to records, the Court is persuaded by
the defendants’ argument and has little trouble
concluding that PP&A has not demonstrated any basis
entitling them to access to the records of all of the
students. The Act provides two situations where a P&A
can gain access to records of individuals with disabilities
who have a legal guardian. The first provides that a P&A
must have access to all records of "any Individual with
developmental disabilities who is a client of the system if
such individual, or the jegal guardian...has authorized
the system to have such access[]" 42 /*25] U.S.C. §
6042/a}(2)- (I). Based on this statute, a guardian of an
individual who is a client of the P&A may authorize the
P&A to have access to the records of said individual for
any reason. In the instant case, however, there is no
argument made that any of the individuals are clients of
the P&A. The second avenue for a P&A to gain access
to the records of a individual with a developmental
disability is at issue in this case, and NSF} it
provides, as stated supra, that a P&A system must have
access to all recards of-

(iii) any individual with a developmental disability
who has a legal guardian...with respect to whom a
complaint has been received by the system or with
respect to whom there is probable cause to believe
the health or safety of the individual is in serious
and immediate jeopardy whenever-

(I) such representatives have been contacted
by such system upon receipt of the name and
address of such representatives;

{Il} such system has offered assistance to such
representatives to resolve the situation; and

(Ili) such representatives have failed or refused
to act on behalf of the individual...

42 U.S.C. § 6042(a)(2)-Kiii). [*26] It is evident from the
structure of § 6042/a)/2)-I(iif} that this section is
designed to give a P&A access to records where they
have received a complaint and/or have probable cause
regarding an individual, and the guardian has been
contacted by the P&A and does not grant permission or
refuses to act. The language of this section of the Act is
clear, and it contemplates access to records when the
PP&A either receives a complaint regarding an

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individual resident, or has probable cause to believe that
the health or safety of an individual is in serious and
immediate jeopardy. Further, the reliance by the court in
Tarwarter on the specific wrongdoing alleged with
respect to two individuals who died at while in residence
In a facility supports defendant's position, although it
does not affirmatively state that the complaint or
probable cause determination must be made regarding
an individual for record access. None of the evidence
submitted by the plaintiff 1° even suggests that they
received a complaint regarding an individual or had
probable cause to believe that the health and safety of
any individual resident was in jeopardy, but instead
merely suggests that there were complaints [*27] or
that PP&A had probable cause to believe that there
were unsafe conditions at RG, conditions for which they
are obligated to visit the premises to Investigate. Should
their investigations lead them to believe that an
individual resident is in jeopardy, at that time they have
the right to request to see the records of that individual.
Based on the foregeing, PP&A has not established an
entitlement to the records of any students, and the Court
will deny their motion and grant summary judgment in
favor of the defendant, 11

[*28] Whether or not PP&A has a right to a list of
guardians is a closer question. The defendants argue
that, unless PP&A has demonstrated a right to the
individual records based on a complaint or probable
cause, the defendants are under no obligation to
provide the PP&A with the name and address of the
guardian of that individual, let alone an entire list of
guardians. They base this argument on the language in
45 CFR. § 1386.22/!) and the phrase records "covered
by the Act". The plaintiff, on the other hand, essentially
argues that, if a P&A has made a request for records,
and the facility denies it for lack of authorization, the
PP&A is entitled to a list of guardians. This argument is

The obvious deficiencies in plaintiffs evidence is of no
moment for purposes of deciding the instant motion,

" This ruling today should not be read to hold that there are no
circumstances under which a P&A could have a more
generalized access to records. For example, the Court can
envision a situation where a P&A receives complaints of
serious widespread abuse against numerous residents, or has
probable cause to suspect that the health and safety of
numerous residents is in serious and immediate jeopardy.
Should such a situation present itself, it could warrant a P&A
to have a more generalized access to all of the records to
properly investigate. However, even accepting as true all of
the hearsay allegations contained in plaintiffs affidavits, their
i not even begin to approach such a situation.

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also made pursuant to 45 C.F.R, § 7386. 22/1).

The Court agrees with the plaintiff that the focus for this
inquiry should be whether or not the denial was for a
lack of authorization, and not whether or not the records
are covered by the Act. Defendants’ reading of the
statute attempts to limit reach of the phrase "covered by
the Act" to records relating to an individual a P&A has
received complaints about or has probable cause to
believe is in serious jeopardy. The language in the
regulation clearly [*29} intends a much broader reach,
and is intended to encompass all individuals, facilities,
and records of individuals in the state system designed
to meet the needs of said individuals. As such, the
records requested by plaintiff are covered by the Act,
and the relevant inquiry is the reason for denial.

Since plaintiff did not have probable cause to see the
records of any individual students, and since there are
no allegations made that any of the students are clients
of the system, any argument remaining for PP&A to
have access fo a list of guardians must rely on 45
CFR, § 1386.22/1), As stated supra, the regulation
says in pertinent part that, "[]fa system is denied access
to...records covered by the Act it shall be provided
promptly with...in the case of a denial for alleged lack of
authorization, the name and address of the [egal
guardian.... fd. There is no dispute that one of the
reasons given for the refusal to provide plaintiff access
to records was a lack of authority. The piain language of
the regulation has been salisfied by the undisputed facts
of this case, suggesting that plaintiff should receive a list
of guardians from RG.

This logic of this conclusion [*30] suggests that all a
P&A must do to receive a list of guardians is to ask for
it. Such a conclusion gives the Court pause for the
simple reason that, if the Act intended such a result, it
could have been more affirmatively and clearly stated.
The question thus becomes whether or not the Act and
this regulation contemplate giving to PP&A a list of
guardians when the PP&A has not demonstrated
sufficient probable cause entitling it to the records per
the discussion above, and when the residents are not
clients of the system. The Court believes it does, and
this conclusion is supported by the regulation, by
precedent, and by the policy underlying the Act as
demonstrated by the facts of this case.

The regulation as it relates to records has a minimal
applicability to § 6042/a}/2}-I(iil) because implicit in the
statute is the notion that if a complaint or probable
cause is established, the name of a guardian must

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automatically be turned over to the P&A so the P&A can
contact the guardian to offer assistance. Furthermore, a
guardian would not have the authority to deny access to
the records of an individual for whom this section is
satisfied, as this section is designed to give the P&A
a[*31] right te access in the event a guardian is not
responsive or cooperative. As such, this regulation
could not have been drafted with § 6042/(a)(2)-I{iii) as its
focus. The regulation potentially has even less
applicability where a guardian of an individual who is a
client of the P&A grants access to records. It is not
likely, and probably not even possible, that an individual
with a developmental disability who has a guardian
could become a client of a P&A without the guardian
being involved in the decision. A fortiori, if the person is
a client, the P&A has the name and address of the
guardian. Therefore, even if a facility informs a P&A that
the P&A no longer is authorized access to the records of
one of the P&A's clients, there is no need for this
regulation since the P&A will already have the guardians
name and address.

The regulation then must be intended to address the
situation where a P&A requests to see the records of a
resident or residents at a facility, but is unable to provide
a sufficient basis of complaints or probable cause to
warrant access, and the resident or residents are not
clients of the P&A. In such a situation, the P&A would
need the permission of the guardian [*32] to see the
records, but conceivably would not know how to contact
the guardian, and the facility can simply deny access by
telling the P&A that they are not authorized to view the
records, This is the situation presented in the instant
case, and the only remedy is to provide the P&A with
the names and addresses of the guarelians.

This reading of the regulation is consistent with the Act.
Section 6042/a){2)-\(iii) addresses a discreet situation
whereby a P&A has received a complaint or has
probable cause to suspect that the health and welfare of
an individual student is in such serious jeopardy that the
P&A will ultimately have access to the records of the
resident even in the face of an objection by the
guardian. Although plaintiff attempted to implicate this
section as a basis for gaining access to the records, and
the defendants were successful in demonstrating that it
was not satisfied, it is not the sole avenue to obtaining
access to records. Section 6042(a)(2)-I(I} necessarily
assumes that the P&A already has the name and
address of the guardian since it addresses access to
records when authorized by guardians. The Court's
reading of the regulation, therefore, merely fills in [*33]
a large gap not affirmatively addressed by the Act but so

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obvious that it most certainly was contemplated by its
drafters, namely what are the rights of the P&A when it
does not have sufficient probable cause to demand
access to records, and it does not know the guardians
from whom it must obtain permission.

Although the practical result of this ruling is that all a
P&A need to do is to receive a list of guardians is ask
for it, and admittedly such a result could be more clearly
indicated by the Act and regulations, this Court js not
the first to read the statute as requiring such a result. In
Robbins v. Budke, 739 F, Supp. 1479 (D.N.M. 1990),
the district court ordered the defendant facility to post in
the administration building at a location that is
accessible to the P&A during regular business hours a
list of patients for wnom guardians have been appointed
along with the name, address, and telephone number of
each guardian, and the instruction that the P&A may
contact a guardian when necessary to obtain consent or
discuss patient issues. Jd. at 7489. As the Robbins
decision demonstrates, the Court's decision today to
provide PP&A with a list of guardians is not a
novel [*34] one.

Finally, the policy underlying the Act to protect the
developmentally disabled and the incongruous outcome
that would otherwise result support the Court's ruling,
and is illustrated by the affidavit of Defendant Carol Dale
describing the access permitted to PP&A. When PP&A
attempted to access the records of the students, they
were rightly refused access because PP&A did not have
the appropriate authority. According to the affidavit, Ms.
Date did introduce the PP&A representatives to the one
Student over 18 and capable of responding to a request
by the PP&A to review his or her individual records. The
student consented, and the PP&A reviewed his records,
The other students all have legal guardians, and without
the name of the legal guardians, the PP&A was unable
to obtain consent for access to the records of those
residents. The result is that the one student who was
considered able to speak for himself is the one who
received the benefit of the PP&A services, and the
others, who were unable to speak for themselves, were
denied these services. This result is contrary of the
purpose of the Act,

If PP&A has concerns about the health and welfare of
the residents at a facility, and [*35] those residents are
not clients, the Act cannot be interpreted to require them
to wait until they have received a complaint or have
probable cause to believe that an individual's health and
welfare is in serious and immediate Jeopardy before
having an opportunity to act on behalf of the residents.

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PP&A's mandate is to be the advocate for all individuals
with developmental disabilities, not just those who
become their clients. Their statutory duty is best
discharged, and the interests of the individuals with
developmental disabilities Is best protected if PP&A has
an opportunity to advocate long before any individual is
in serious and immediate jeopardy.

Accordingly, the Court holds that PP&A is entitled to be
provided with a list of guardians, and will grant summary
judgment in favor of the plaintiff.

IV. CONCLUSION

For the foregoing reasons, the Court will grant plaintiff's
motion tc the extent that plaintiff seeks access to Royer
Greaves without first having to make an appointment,
and to the extent plaintiff requests a list of guardians of
the Royer Greaves students. The Court will deny
plaintiffs motion and grant summary judgment in favor
of the defendants to the [*36] extent that plaintiff will be
required to make an appointment twenty-four (24) hours
in advance of meeting with individual students, and to
the extent that plaintiff has not demonstrated an
independent right to access the records of the students.

An appropriate Order follows.

Clarence C. Newcomer, J.

ORDER

AND NOW, this 24th day of March, 1999, upon
consideration of plaintiffs Motion for Summary
Judgment and defendants’ response thereto, and
consistent with the foregoing Memorandum, it is hereby
ORDERED that said Motion are DENIED in part and
GRANTED in part. IT IS FURTHER ORDERED that
plaintiffs motion is GRANTED and JUDGMENT is
entered in favor of the plaintiff to the extent that plaintiff
seeks access to Royer Greaves during normal working
and visiting hours without prior notice or appointment,
and to the extent plaintiff requests a list of the legal
guardian of the Royer Greaves residents and students.
IT {3 FURTHER ORDERED that defendants shall
provide plaintiff the name and address of the legal
guardian of each resident and/or student at the school
within ten (10) days of the date of this Order. IT IS
FURTHER ORDERED that plaintiff's motion is DENIED
and JUDGMENT [*37] is entered in favor of the
defendants to the extent plaintiff shall be required to
make an appointment twenty-four (24) hours in advance
of meeting with individual students and/or residents, and
extent plaintiff sought access to the records of the

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Royer Greaves students and/or residents. IT IS
FURTHER ORDERED that the Clerk is to mark this
case CLOSED.

AND IT IS SO ORDERED.

Clarence C. Newcomer, J.

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